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          22-1240
       United States Court of Appeals
           for the Second Circuit
                  ELIZABETH STAFFORD,
                   Petitioner-Appellee,
                          – v. –
         INTERNATIONAL BUSINESS MACHINES CORP.,
                  Respondent-Appellant.
   On Appeal from the United States District Court for the
               Southern District of New York
         No. 21-CV-06164 – Judge J. Paul Oetken

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        MACHINES CORP.’S REPLY BRIEF

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                           INTRODUCTION

     The facts in this appeal are straightforward and undisputed.

Stafford and IBM agreed to confidential arbitration of any claims under

the Age Discrimination in Employment Act (“ADEA”). Stafford prevailed

on an ADEA claim in arbitration. The confidential Final Award granted

her monetary relief and nothing more. Even though there was never a

question about IBM’s voluntary compliance with the Final Award,

Stafford filed this federal action to confirm the Final Award anyway—not

to obtain any real relief on the award, but (by her own admission, JA37

& n.1) to force the disclosure of the award’s confidential contents under

the “public access” doctrine, thereby gutting the confidentiality provision

in the arbitration agreement. And even though IBM had already fully

paid and satisfied the award, the district court confirmed it anyway.

     The Court should begin and end its opinion by vacating the district

court’s decision and remanding with instructions to dismiss for lack of

jurisdiction. There is no Article III case or controversy over the

confirmation of a purely monetary award that has already been fully paid

and satisfied. A confirmation order could not provide any “effectual” relief

because it could have no effect in the real world.


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      Stafford’s lead argument in response is that she has a statutory

right to confirmation under the Federal Arbitration Act (“FAA”). But it is

hornbook law that a statute cannot create Article III jurisdiction where

no party has a concrete stake in the outcome of the case. There also is no

diversity jurisdiction for the same reason: The parties have no amount in

controversy because IBM fully satisfied the Final Award. The seriousness

of that defect is underscored by Stafford’s request for leave to engineer

federal-question jurisdiction by adding a new First Amendment claim

against IBM—even though such a claim would be frivolous.

      In all events, even if the district court had jurisdiction, the

unsealing order cannot stand. The confidential contents of the Final

Award are not subject to any presumption of public access because, in the

circumstances here, they could not influence the court’s confirmation

decision. At best, any presumption of access would be weak (because the

award’s contents were irrelevant to the court’s ruling) and easily

overcome (due to the FAA’s strong policy of upholding confidentiality

provisions). That issue is critical not just for this case, but for confidential

arbitrations everywhere: Confidentiality is meaningless if any party can

force disclosure just by seeking confirmation and opposing sealing.


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                                ARGUMENT

I.    The District Court Lacked Subject-Matter Jurisdiction.

      The Court should vacate with instructions to dismiss for lack of

jurisdiction. There is no dispute that IBM has fully satisfied the

monetary award Stafford received. Indeed, there is no dispute about that

award at all. Accordingly, there is no Article III case or controversy

(because the district court could not grant effectual relief to Stafford), and

there is no diversity jurisdiction (because there is no amount in

controversy).

      A.    There Is No Article III Case or Controversy.

      Stafford agrees that there is no Article III case or controversy “when

it is impossible for a court to grant any effectual relief whatever to the

prevailing party.” Stafford Br. 10 (quoting Campbell-Ewald Co. v. Gomez,

577 U.S. 153, 161 (2016)). But she fails to identify how the district court’s

confirmation of the Final Award could grant her any effectual relief.

      1. Stafford’s lead argument is that there must be an Article III case

or controversy “because the FAA itself establishes an unfettered right to

obtain confirmation.” Id.; id. at 11 (a court “must grant” confirmation

unless the award is vacated, modified, or corrected, 9 U.S.C. § 9).



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     IBM addressed this argument in its opening brief, however, and

Stafford offers no meaningful response. Specifically, she has no answer

to the rule that “Congress cannot extend the judicial power to matters

that are neither cases nor controversies.” IBM Br. 17 (quoting NLRB v.

Constellium Rolled Prods. Ravenswood, LLC, 43 F.4th 395, 399 (4th Cir.

2022)); see also TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2205 (2021)

(explaining that the Supreme Court has long “rejected the proposition

that ‘a plaintiff automatically satisfies the injury-in-fact requirement

whenever a statute grants a person a statutory right and purports to

authorize that person to sue to vindicate that right’”). Thus, as one court

addressing this precise question explained, although “the FAA clearly

states that a court ‘must grant’ a timely request for [confirmation of] an

arbitration award,” that language “does not supersede the ‘irreducible

constitutional minimum of [an Article III case or controversy].’” P.R. Tel.

Co. v. WorldNet Telecomms., LLC, No. 21-mc-386, 2022 WL 255362

(D.P.R. Jan. 27, 2022), appeal pending No. 22-1127 (1st Cir.).

     As a result, the mere fact that Congress mandated confirmation in

the FAA (assuming certain conditions are met) cannot, on its own, create

an Article III case or controversy. Instead, as Stafford says, she must


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identify some “effectual relief” that a confirmation order could give her.

Stafford Br. 10 (quoting Campbell-Ewald Co., 577 U.S. at 161). That

means Stafford must have an actual “concrete interest . . . in the outcome

of the litigation.” Campbell-Ewald Co., 577 U.S. at 161. Yet she has no

such interest “because [IBM] has fully complied with its obligations

under the Final Award.”        P.R. Tel. Co., 2022 WL 255362, at *2.

Confirming the award would thus have no effect at all: Whether it is

confirmed or not, “no money will change hands” and IBM “will have to

take no new actions.” See Constellium Rolled Prods. Ravenswood, LLC,

43 F.4th at 403–04 (“[J]udicial intervention cannot be justified when the

court’s decision would have no tangible effect on the state of the world.”).

     2. Ignoring Puerto Rico Telephone Company, Stafford instead cites

two other district court decisions (at 2–3, 11–12) holding that “parties

retain an undisputed right to § 9 confirmation whatever the nature of an

award and the parties’ degree of compliance with it.” Nat’l Cas. Co. v.

Resolute Reinsurance Co., No. 15cv9440, 2016 WL 1178779, at *3

(S.D.N.Y. Mar. 24, 2016); Opinion and Order at 2–3, Simpson v. Peloton

Interactive, Inc., No. 20-cv-7630 (S.D.N.Y. July 2, 2021), ECF No. 25.




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Only National Casualty (which Simpson relied on) offered reasons for

that holding—and they are mistaken.

     In particular, National Casualty—like Stafford—emphasized that

the FAA “makes . . . confirmation mandatory.” 2016 WL 1178779, at *3.

IBM has never disputed that. But National Casualty went on to say

(without citation) that, “until [the party] receives that confirmation[,] an

ongoing case and controversy exists,” “whatever the nature of an award

and the parties’ degree of compliance with it.” Id. That is incorrect, and

it contradicts the court’s recognition that the FAA’s “statutory language

cannot override Article III’s requirements.” Id. Instead, as cases like

TransUnion and Puerto Rico Telephone Company hold, Stafford must

identify some concrete “effectual relief” that confirmation would provide

wholly apart from the abstract statutory right to confirmation. Stafford

Br. 10 (quoting Campbell-Ewald Co., 577 U.S. at 161). If a purely

monetary award has been fully paid, then confirmation provides no

concrete benefit to the prevailing party.

     National Casualty also suggested that the “quasi-appellate” nature

of a confirmation proceeding supports the claim that Article III

jurisdiction exists in a case like this. 2016 WL 1178779, at *3; see also


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City of N.Y. v. Mickalis Pawn Shop, LLC, 645 F.3d 114, 136 (2d Cir. 2011)

(referring to a confirmation proceeding as “a unique, quasi-appellate

proceeding”). That, too, is incorrect. The Supreme Court has made clear

that confirmation actions must have “an independent jurisdictional

basis.” Badgerow v. Walters, 142 S. Ct. 1310, 1316 (2022). Thus, the fact

that the underlying arbitration proceeding might have presented a live

case or controversy does not mean that the same is true of a subsequent

confirmation proceeding. If the arbitrator has fully resolved the

controversy by issuing a monetary award, and one party has fully paid

and satisfied the award, there is no longer any live dispute—and no

concrete relief that a confirmation order could provide.

     Even if a confirmation action could be treated like an “appeal,” it is

well-settled that a case may become moot for Article III purposes while

an appeal is pending. See, e.g., Indep. Party of Richmond Cnty. v.

Graham, 413 F.3d 252, 257 (2d Cir. 2005) (dismissing appeal in the

election context as moot because the election had occurred and thus the

appeal “fails to present a live case or controversy as required for

jurisdiction under Article III”); DiMartile v. Cuomo, 834 F. App’x 677,

678–79 (2d Cir. 2021) (summary order) (similar). The same mootness


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principle would apply here: Once the award is paid, the parties have no

concrete stake in it, and the question of whether it should be confirmed

no longer presents a live case or controversy. Thus, treating a

confirmation proceeding as “quasi-appellate” cannot insulate it from

Article III’s case-or-controversy requirement.

      3. Stafford also claims that there must be an Article III case or

controversy because the parties’ arbitration agreement “recognized that

confirmation could be sought in court.” Stafford Br. 11; id. at 1, 8; see

JA32. But parties “cannot confer subject matter jurisdiction [on federal

courts] where the Constitution . . . ha[s] not.” Perpetual Secs., Inc. v.

Tang, 290 F.3d 132, 136 (2d Cir. 2002) (quoting Wynn v. AC Rochester,

273 F.3d 153, 157 (2d Cir. 2001) (per curiam)). And that provision in the

parties’ agreement simply tracks the FAA’s confirmation process, which

is available where (unlike here) confirmation could impart some effectual

relief—for example, if a party fails to pay a Final Award. Infra pp. 11–

14.

      4. Next, Stafford argues that this Court’s decision in Zeiler v.

Deitsch, 500 F.3d 157 (2d Cir. 2007), “does not require a ‘live’ dispute” in

confirmation proceedings. Stafford Br. 12. But again, Stafford all but


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ignores IBM’s opening brief, which identified at least four independent

reasons why Zeiler does not control the Article III question here. See IBM

Br. 25–28 ((1) Zeiler did not address the Article III issue; (2) there was

Article III jurisdiction in Zeiler because the arbitral orders at issue

awarded prospective relief, not purely monetary relief; (3) Zeiler left open

the possibility that there might be another sufficient reason why

confirmation of a fully satisfied award is impermissible; and (4) Zeiler’s

concern about complex factual disputes is irrelevant here).

     Stafford offers only a few responses in defense of Zeiler’s claimed

relevance here. First, in a footnote, she says that, even though Zeiler “did

not directly address . . . Article III,” “federal courts are under an

independent obligation to examine their own jurisdiction.” Stafford Br.

12 n.8 (quoting FDIC v. Four Star Holding Co., 178 F.3d 97, 100 n.2 (2d

Cir. 1999)). She thus appears to suggest that Zeiler implicitly decided the

Article III question, even though no party raised it and the Court never

discussed it. But, as IBM explained—and as the Supreme Court has

emphasized—“‘drive-by jurisdictional rulings’ that simply assume

jurisdiction without addressing it ‘have no precedential effect’ on the




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question of Article III jurisdiction.” IBM Br. 26 (quoting Green v. Dep’t of

Educ. of City of N.Y., 16 F.4th 1070, 1076 n.1 (2d Cir. 2021)).

     Second, Stafford says that “numerous courts [following Zeiler’s

predecessors] have confirmed awards even where there was no dispute

as to compliance with the award.” Stafford Br. 12–13 (citing Am. Nursing

Home v. Loc. 144 Hotel, Hosp., Nursing Home & Allied Servs. Union,

SEIU, AFL-CIO, No. 89 Civ. 1704, 1992 WL 47553 (S.D.N.Y. Mar. 4,

1992); Arbordale Hedge Invs., Inc. v. Clinton Grp., Inc., No. 99 CIV. 4452,

1999 WL 1000939 (S.D.N.Y. Nov. 4, 1999); Dist. Council No. 9 v. APC

Painting, Inc., 272 F. Supp. 2d 229 (S.D.N.Y. 2003)). Like Zeiler,

however, none of Stafford’s cases say a word about Article III.

     Finally, Stafford cites a number of cases for the proposition that

“courts in this Circuit have never limited” “Zeiler’s applicability to

circumstances in which a party seeks to confirm a satisfied award

providing for prospective, non-monetary relief, rather than money

damages.” Stafford Br. 13–14. Stafford misunderstands IBM’s point:

There was no Article III problem in Zeiler because confirmation in that

case gave teeth to the arbitral award’s grant of prospective relief by

activating tools to enforce the award in the future, since future


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compliance was not guaranteed. IBM Br. 26–27. That explains why the

parties in Zeiler did not raise, and this Court did not address, Article III.

     5. Stafford likewise attempts to minimize IBM’s authorities from

the Third, Fourth, and Seventh Circuits—to no avail. Stafford Br. 14–16.

     First, she disparages them generally because “not one of the cases

actually reaches [the] holding” that “jurisdiction exists only over

confirmation of awards involving equitable relief.” Id. at 14. IBM never

suggested otherwise. And more fundamentally, that is not IBM’s

position. As IBM explained, a district court has Article III jurisdiction

over a confirmation proceeding when confirmation may impart effectual

relief to the prevailing party. IBM Br. 22–24. That is true in proceedings

where an arbitral award is equitable and also where a monetary award

is unsatisfied; in both contexts, the enforcement tools that confirmation

gives the prevailing party are effectual relief. The Article III problem

arises only where, as here, a purely monetary award has been fully paid.

In this situation, confirmation would do nothing for Stafford.

     Second, turning to each of IBM’s cited cases specifically, Stafford

struggles to distinguish them. In one sentence, she observes that, in

Brown & Pipkins, LLC v. Service Employees International Union, 846


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F.3d 716 (4th Cir. 2017), the Fourth Circuit “expressly noted that it did

‘not reach the question of whether a federal court may confirm a labor

arbitration award where there is no live controversy between the parties

regarding the award necessitating judicial enforcement.’” Stafford Br. 16

(quoting Brown & Pipkins, 846 F.3d at 729 n.2). But she ignores that the

Fourth Circuit found an Article III case or controversy because there was

an ongoing dispute as to whether the monetary award was satisfied. See

IBM Br. 18–19. The logical implication, therefore, is that no Article III

case or controversy exists where, as here, the monetary award has been

fully paid and there is no ongoing dispute about it.

     In another sentence, Stafford says that, in Unite Here Local 1 v.

Hyatt Corp., 862 F.3d 588 (7th Cir. 2017), the Seventh Circuit “held that

there was a live case or controversy where the defendant-employer did

not challenge [the] monetary award but had not yet complied.” Stafford

Br. 16. Stafford misapprehends Unite Here because there was no

monetary award. 862 F.3d at 594 (“The arbitration awards in this case

. . . expressly granted prospective relief in the form of cease-and-desist

orders.”). In any event, Stafford does not acknowledge IBM’s point—

drawn from Unite Here—that there is no Article III case or controversy


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here because the monetary award has been fully satisfied, and “there is

no work for contempt sanctions or injunctive relief [which would flow

from confirmation] to do.” IBM Br. 19–20, 22.

     Last, Stafford puzzlingly tries to spin the Third Circuit’s decision

in Teamsters Local 177 v. United Parcel Service, 966 F.3d 245 (3d Cir.

2020), as “support[ing]” her. Stafford Br. 14–16. She notes that the Third

Circuit “limit[ed] [its] holding to an award for equitable relief and

express[ed] no opinion as to whether a party that receives an arbitration

award for money damages has standing to confirm the award in federal

court after those damages are paid in full.” Id. at 15–16 (quoting

Teamsters Loc. 177, 966 F.3d at 253 n.3). But IBM emphasized that point

in its opening brief because it helps IBM. IBM Br. 21–22. The Third

Circuit expressly recognized that a case like this one may present a fatal

Article III problem. And indeed, the court in Puerto Rico Telephone Co.

received that message and found an Article III defect in a materially

identical case. Id. at 22–24.

     Stafford nonetheless tries to read the Third Circuit’s footnote out of

the opinion, arguing that “nothing about the court’s rationale as to the

mandatory nature of confirmation was dependent on the fact that the


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award at issue in the case was equitable, and nothing in the strict

language of Section 9 suggests that it is limited to equitable awards.”

Stafford Br. 16. But she conspicuously never acknowledges the Third

Circuit’s actual rationale, which was that confirmation provided a

concrete benefit in that case because it enabled the petitioner to “enforce”

the prospective relief granted in the arbitration award. Teamsters Loc.

177, 966 F.3d at 253. With a confirmation order, the court could “penalize

the non-complying party through contempt proceedings or the issuance

of injunctive relief.” Id. That is not true in the present case because the

award here was purely monetary and had already been fully paid.

      6. Finally, Stafford suggests that there must be an Article III case

or controversy here because (in her view) “there is a genuine public

interest in [her] award being made public.” Stafford Br. 16–17. That is

not how Article III works. As Stafford herself recounts, there is no Article

III case or controversy if “it is impossible for a court to grant any effectual

relief whatever to the prevailing party”—not the public. Id. at 10

(emphasis added) (quoting Campbell-Ewald Co., 577 U.S. at 161).

Stafford prevailed in arbitration, IBM has fully satisfied her award,




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and—as her silence as to what relief she might receive suggests—there

is simply no effectual relief the district court could give her.

      Moreover, to the extent Stafford suggests that the parties’ ancillary

sealing dispute suffices to create an Article III case or controversy, she is

wrong. The Supreme Court and this Court have long held that ancillary

issues—such as, for example, an interest in attorney’s fees—cannot save

a claim for purposes of Article III. See, e.g., Excelsior Cap. LLC v. Allen,

536 F. App’x 58, 61 (2d Cir. 2013) (“[A]n ‘interest in attorney’s fees is . . .

insufficient to create an Article III case or controversy where none exists

on the merits of the underlying claim.’” (quoting Lewis v. Cont’l Bank

Corp., 494 U.S. 472, 480 (1990))). Similarly here, a party cannot file a

complaint with confidential materials under seal and then bootstrap

Article III standing by claiming that there is a case or controversy over

the sealing issue—even though the underlying claim is moot.

      B.     There Is No Diversity Jurisdiction.

      The district court lacked diversity jurisdiction under § 1332 for the

same reasons: given that IBM paid the arbitral award in full, there is no

amount in controversy. Again, Stafford offers no persuasive responses.




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      1.    Stafford   principally    argues    that   diversity    jurisdiction

“indisputably” exists because the amount in controversy in the

underlying      arbitration    proceedings     satisfied    § 1332’s      $75,000

requirement. Stafford Br. 19. For support, she claims that “this Circuit

and others have used what is known as the ‘demand’ approach, which

‘uses the amount that was denoted in the underlying proceedings to

determine the amount in controversy in subsequent confirmation

litigation.’” Id. at 18. Stafford is incorrect in two respects.

      First, Stafford omits that—as numerous courts have recognized—

this Court “has not decided” whether the “demand” approach is

appropriate where parties seek to confirm, modify, or vacate arbitral

awards. See, e.g., Erdheim v. Harris, No. 18 Civ. 8601, 2019 WL 3219385,

at *3 (S.D.N.Y. July 17, 2019); Nat’l Cas. Co., 2016 WL 1178779, at *2

(stating that “[t]he Second Circuit has not set forth a rule governing how

to calculate the amount in controversy in an arbitration confirmation

proceeding where the award has already been paid”). On top of that, after

Badgerow, multiple courts within this Circuit have rejected the “demand”

approach because it is “similar to the ‘look through’ approach that the

Supreme Court held impermissible in Badgerow.” Conmed Corp. v. First


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Choice Prosthetic & Orthopedic Serv., Inc., No. 21-cv-1245, 2023 WL

157957, at *7 (N.D.N.Y. Jan. 11, 2023); Mitchell v. Frattini, No. 22-cv-

2352, 2022 WL 17157027, at *3 (S.D.N.Y. Nov. 22, 2022) (“Badgerow

forecloses” resting diversity jurisdiction on a “find[ing] that the

underlying arbitration involved an amount-in-controversy greater than

$75,000”). Indeed, Badgerow makes clear that a dispute over

confirmation is quite distinct from the underlying dispute in arbitration.

     Second, this case illustrates why the “demand” approach is flawed:

It requires courts to rely on a “legal fiction” about the amount at stake at

the beginning of arbitration, without regard to the nature of “the case

now before the Court.” E.g., Dyrdal v. Enbridge (U.S.), Inc., 738

F. Supp. 2d 927, 931 (D. Minn. 2010). After an award has been rendered

and a party has agreed to fully pay it, it makes no sense to ignore the

reality that there is no longer any amount in controversy. IBM’s prompt

satisfaction of the arbitral award—regardless of any amount Stafford

demanded or received—eliminates any genuine controversy.1



1 Stafford notes that IBM did not raise any issue about diversity
jurisdiction below. Stafford Br. 3–4 n.4. This is irrelevant because she
also concedes that “arguments as to the court’s subject matter
jurisdiction can be raised at any time.” Id. at 2 n.2. Moreover, there was

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      2. In the alternative, Stafford tries to shift the focus to IBM,

claiming that “there is no question that IBM’s interest in maintaining

the confidentiality of this arbitration has value above $75,000.” Stafford

Br. 20. But that ignores the rule that “the amount in controversy is

calculated from the plaintiff’s standpoint,” not the defendant’s.

Correspondent Servs. Corp. v. First Equities Corp. of Fla., 442 F.3d 767,

769 (2d Cir. 2006); see also Dimich v. Med-Pro, Inc., 304 F. Supp. 2d 517,

519 (S.D.N.Y. 2004) (“[T]he prevailing method of calculating value in this

Circuit is the ‘plaintiff’s view’ approach, where one calculates the value

to the plaintiff, not the cost to the defendant.”).

      Stafford’s argument also fails because it turns on the supposed

value of the unsealing dispute, not the value of the confirmation order

that is the object of the suit. Ancillary issues like sealing are not relevant

to the amount in controversy for purposes of diversity jurisdiction.

Simply put, “the amount in controversy is measured by the value of the




no need to address diversity below because, as IBM explained (at 29–30),
this Court’s pre-Badgerow decision in Doscher v. Sea Port Group
Securities, LLC, 832 F.3d 372 (2d Cir. 2016), established clear statutory
federal-question jurisdiction based on the look-through approach. That
changed when the Supreme Court overruled Doscher in Badgerow.


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object of the litigation.” Correspondent Servs. Corp., 442 F.3d at 769

(emphasis added)). And the object of a confirmation action is, by

definition, confirmation of an arbitral award—not how a district court

handles the ancillary issue of the sealing of various filings in the action.

     Finally, Stafford’s argument fails because it is purely speculative:

It assumes with no basis that the disclosure of the Final Award would do

more than $75,000 worth of damage to IBM because it (1) could “support”

some other unspecified claimants in separate arbitrations against IBM,

and (2) could result in those unspecified claimants recovering more than

$75,000 in damages against IBM. Stafford Br. 4 n.5, 9, 20. Such “purely

speculative” attempts to identify a monetary value “fail[] to establish to

a reasonable probability that the amount in controversy exceeds the

statutory minimum.” United Food & Com. Workers Union, Loc. 919, AFL-

CIO v. CenterMark Props. Meriden Square, Inc., 30 F.3d 298, 306 (2d Cir.

1994).

     C.     The Court Should Reject Stafford’s Request for Leave
            to Add a First Amendment Claim.

     Sensing the writing on the jurisdictional walls, Stafford repeatedly

asks the Court, in the alternative, to “remand with instructions that

Petitioner has leave to amend her Petition to add a claim under the First

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Amendment.” Stafford Br. 21 n.10, 32 n.15. She never explains what the

claim would be, but she assures the Court that “[s]uch a claim would

undoubtedly confer federal subject matter jurisdiction.” Id. at 21 n.10.

      The Court should ignore this request because it is frivolous. IBM is

not a state actor to whom the First Amendment applies. See, e.g.,

Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1928 (2019).

Accordingly, any First Amendment claim against IBM would fail.

II.   This Court Should Reverse The Unsealing Order.

      The district court’s unsealing order is mistaken and should be

reversed. The confidential contents of the Final Award are not subject to

any presumption of public access because they were by law irrelevant to

the district court’s decision on the petition to confirm. And that is true

regardless of whether the district court had jurisdiction to issue the

confirmation order: If the district court lacked jurisdiction, it was

required to dismiss the petition for that reason alone. And even if the

district court had jurisdiction, the FAA required confirmation of the

award regardless of its contents because no party raised any ground for

vacatur. In any event, even if a presumption of public access somehow

applied here, it would be extraordinarily weak (because the award’s


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contents played no proper role in the judicial function) and easily

overcome (given the FAA’s strong policy in favor of confidential

arbitration). Here, too, Stafford offers no persuasive responses.

      A.     The Final Award Is Not a Judicial Document Subject to
             the Presumption of Public Access.

      Stafford agrees at the outset that, “[i]n order to constitute a judicial

document subject to the presumption of public access, ‘the item filed must

be relevant to the performance of the judicial function and useful in the

judicial process in order for it to be designated a judicial document.’”

Stafford Br. 23 (quoting United States v. Amodeo, 44 F.3d 141, 145 (2d

Cir. 1995) (“Amodeo I”)). She omits—and does not dispute—that this

Court has also said that a document is relevant to the performance of the

judicial function “if it would reasonably have the tendency to influence a

district court’s ruling on a motion or in the exercise of its supervisory

powers, without regard to which way the court ultimately rules or

whether the document ultimately in fact influences the court’s decision.”

Brown v. Maxwell, 929 F.3d 41, 49 (2d Cir. 2019); see also Amodeo I, 44

F.3d at 146 (contents of documents are relevant to judicial function if they

would have “informed” the court’s decision). She offers a few arguments

that the Final Award fits the bill, but all fail.

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     1. Stafford leads with lengthy string-cites of cases where district

courts have said that arbitral awards filed with confirmation petitions

are judicial documents subject to the presumption of public access.

Stafford Br. 23–25. But none of those cases considered—let alone

wrestled with—IBM’s argument here: Since the district court lacked

jurisdiction, it could not properly do anything other than dismiss the

confirmation petition regardless of the contents of the award. Indeed, as

the Sixth Circuit recently explained, courts do not even “possess the

power to unseal documents outside a justiciable case or controversy.”

Grae v. Corr. Corp. of Am., __ F.4th ___, 2023 WL 179767, at *4 (6th Cir.

Jan. 13, 2023).

     Even assuming the district court had jurisdiction, the contents of

the Final Award were still irrelevant to the judicial function: Under the

FAA, the court “was required to confirm the award regardless of its

contents” because no party raised any ground for vacating the award.

IBM Br. 35. This follows directly from the text of the FAA: A district court

“must” confirm an award “unless the award is vacated, modified, or

corrected as prescribed in sections 10 and 11.” 9 U.S.C. § 9. And Sections




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10 and 11 allow vacatur, modification, or correction only “upon the

application of [a] party.” Id. §§ 9–10.

     Where, as here, no party raises any ground for vacatur,

modification, or correction, the district court “must” confirm the award

regardless of its contents. “The upshot is that the contents of the Final

Award—by law—could not ‘reasonably have [had] the tendency to

influence a district court’s ruling’ on whether to confirm the award. IBM

Br. 35–36 (quoting Brown, 929 F.3d at 49). Disclosing the contents of the

award would thus do nothing to advance transparency about the court’s

decision-making process, which is the core purpose of the public access

doctrine. See IBM Br. 31.

     Stafford notes that, in some of her cited cases, district courts have

considered arbitral awards to be judicial documents “even when, as here,

the petition to confirm the award was not contested.” Stafford Br. 24. But,

again, none of those cases addressed IBM’s point—rooted in Brown and

Amodeo I—that the contents of an arbitral award in cases like this cannot

reasonably have had a tendency to influence any judicial decision.

     2. Stafford next gestures at IBM’s argument but says that, “even if

a court does not assess the content of an arbitration award in the


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summary proceeding to confirm it, the award is still ‘at the heart of what

the Court is asked to act upon,’ [and] thus the ‘parties must demonstrate

why the presumption of access should be overcome.’” Id. (quoting Glob.

Reinsurance Corp.-U.S. Branch v. Argonaut Ins. Co., Nos. 07 Civ. 8196,

07 Civ. 8350, 2008 WL 1805459, at *1 (S.D.N.Y. Apr. 21, 2008), as

amended (Apr. 24, 2008)). But that ignores the jurisdictional argument

altogether, and it also misstates this Court’s test for whether materials

are judicial documents: whether they “would reasonably have the

tendency to influence a district court’s ruling on a motion or in the

exercise of its supervisory powers[.]” Brown, 929 F.3d at 49 (emphasis

altered). Although the award is the object of the confirmation, its

contents have no tendency to influence the judicial act of confirmation

when no party opposes it and the contents are thus entirely irrelevant to

how the Court rules. In this situation, the contents of the award have no

influence on the district court’s summary confirmation order and are not

subject to any presumption of public access.

     3. Stafford also emphasizes that “this Court has held that a

document does not lose its character as a ‘judicial document’ merely

because a court does not heavily rely on the document in rendering its


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decision on a motion.” Stafford Br. 25–26. IBM’s argument, however, does

not turn on how heavily the district court relied on the contents of the

Final Award. As just explained, it turns instead on the fact that the

contents of the award were legally irrelevant to the court’s decision on

how to rule on the confirmation petition.

     4. Stafford likewise mischaracterizes the Court’s precedents in

arguing that “the public’s right of access attached the moment [she] filed

her petition in court.” Id. at 26. To the contrary, the Court has repeatedly

held that “the mere filing of a paper or document with the court is

insufficient to render that paper a judicial document subject to the right

of public access.” Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119

(2d Cir. 2006); see Olson v. MLB, 29 F.4th 59, 87 (2d Cir. 2022) (same).

Instead, the document must meet the relevancy test discussed above to

constitute a judicial document. Stafford is thus simply wrong to suggest

that the filing itself subjected the contents of the Final Award to a

presumption of public access. Compare Lohnn v. IBM, No. 21-cv-6379,

2022 WL 3359737 (S.D.N.Y. Aug. 15, 2022) (adopting Stafford’s counsel’s

view), with In Re: IBM Arb. Agreement Litig., No. 21-cv-6296, 2022 WL

3043220, at *3 (S.D.N.Y. Aug. 2, 2022) (explaining that the Lohnn court


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misread Lugosch, which “explicitly reaffirmed” that the mere filing of a

document is insufficient to make it a judicial document).

     B.     Even If the Final Award Were a Judicial Document, the
            Presumption of Public Access Would be Weak and
            Easily Overcome.

     Stafford fails to rebut IBM’s argument that, even if there were a

presumption of public access here, it would be overcome by the FAA’s

policy of protecting arbitral confidentiality provisions.

     1. At the outset, Stafford omits the critical second step of the Court’s

Lugosch analysis, which IBM emphasized in its opening brief (at 38–39):

Even when there is a presumption of public access, the Court must first

determine the “weight” of that presumption before deciding whether it is

outweighed by competing considerations. Lugosch, 435 F.3d at 119. The

weight of the presumption is “governed by the role of the [contents of the

Final Award] in the exercise of Article III judicial power and the resultant

value of such information to those monitoring the federal courts.” Id.

     This step in the analysis is dispositive (if the Court reaches it)

because, for the reasons just explained, the contents of the Final Award

could have “‘no role’—not even ‘a negligible role’—‘in the performance of

Article III functions.’” IBM Br. 39. Any presumption is thus virtually non-


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existent, as publicly disclosing the confidential contents of the Final

Award would have “no value to ‘those monitoring the federal courts.’” Id.

And as the district court in In Re: IBM determined in similar

circumstances, the FAA’s pro-arbitration policy (see infra at 27–31) is a

“strong ‘competing consideration[]’” that would easily overcome that

“weak presumption.” 2022 WL 3043220, at *2. Stafford does not say a

word about this argument in response.

     3. As to the final step of the Lugosch analysis—whether competing

considerations override any de minimis presumption of public access to

the Final Award—Stafford argues that “this Court has been crystal clear

that a confidentiality provision like the one that IBM has invoked … is

not a sufficient countervailing interest to override the presumption of

public access.” Stafford Br. 28 (citing Lugosch, 435 F.3d at 126).

     But Stafford misrepresents Lugosch, which did not involve an

arbitral confidentiality provision or the FAA. The Court in Lugosch

acknowledged     that    “particular        circumstances   surrounding”   a

confidentiality order or agreement could outweigh a presumption of

public access. See 435 F.3d at 126. The unique “particular circumstances”

here—including the absence of any case or controversy, the fact that the


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contents of the Final Award could not influence the district court’s

decision, and the FAA’s mandate that courts rigorously uphold the terms

of arbitration agreements—easily combine to displace any negligible

presumption.

        Stafford also cites a number of cases for the proposition that “courts

within the Circuit have routinely declined to keep documents under seal

that were alleged to be confidential (whether in arbitration or elsewhere)

and where they were filed as part of a proceeding raising a challenge to

a party’s confidentiality provision.” Stafford Br. 28–29, 32. Only two of

her cited cases, however, confronted the FAA argument IBM presents

here.    Neither bind this Court, and respectfully, both were wrongly

decided.

        The first is Lohnn. As explained above, the district court in In Re:

IBM expressly—and correctly—disagreed with the Lohnn court’s

reasoning regarding the public access doctrine. See In Re: IBM, 2022 WL

3043220, at *3. Moreover, as Lohnn’s silence on the Supreme Court’s FAA

case law suggests, the court mistakenly gave short shrift to the FAA’s




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pro-arbitration policy. Lohnn v. IBM, No. 21-cv-6379, 2022 WL 36420, at

*13–14 (S.D.N.Y. Jan. 4, 2022).2

     The second is Bristol-Myers Squibb Co. v. Novartis Pharma AG, No.

22-cv-4162, 2022 WL 2133826 (S.D.N.Y. June 14, 2022). The court in that

case argued that “the weight of the presumption of public access [to an

award] is strong” because “the award ‘directly affects’ the adjudication

the court is being asked to make.” Id. at *4. But, as explained above, on

the facts of this case, where confirmation was not opposed, the contents

of the Final Award legally could not affect the district court’s

confirmation order. See supra pp. 22–23. Disclosing the contents of the

award thus does not serve the public-access doctrine’s goal of enabling

the public to evaluate the integrity of the court’s decision-making process.

     The court also concluded that requiring public disclosure of a

confidential arbitration award “does not undercut the federal policy

favoring arbitration, because the federal policy favoring arbitration

favors only resort to alternative dispute resolution—not confidentiality


2 Nor can Stafford get any mileage out of this Court’s decision to deny a

stay pending appeal in Lohnn. See Stafford Br. 21–22 & n.11 (citing
Order, Lohnn v. IBM, No. 22-32 (2d Cir. Feb. 8, 2022), ECF No. 71). That
summary denial did not resolve the merits of the unsealing issue.


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agreements attendant thereto.” Bristol-Myers Squibb Co., 2022 WL

2133826, at *4; see also Stafford Br. 30 (similarly arguing that “the FAA

favors only the enforcement of a valid agreement to arbitrate[;] it does

not favor any particular terms, including confidentiality, that may be

included in a particular arbitration agreement”).

     Respectfully, that is directly contrary to the Supreme Court’s

admonition that courts must “respect and enforce . . . ‘the rules’” that

parties adopt for arbitration. E.g., Epic Sys. Corp. v. Lewis, 138 S. Ct.

1612, 1621 (2018). It is also directly contrary to this Court’s admonition

that “confidentiality is a paradigmatic aspect of arbitration,” and an

“‘attack on [a] confidentiality provision is, in part, an attack on the

character of arbitration itself.’” Guyden v. Aetna, Inc., 544 F.3d 376, 385

(2d Cir. 2008). Because gutting the confidentiality of an arbitral award

“is, in part, an attack on the character of arbitration itself,” id., it is

simply incorrect to say that this “does not undercut the federal policy

favoring arbitration,” Bristol-Myers Squibb Co., 2022 WL 2133826, at *4.

     Stafford tries to escape Guyden on the ground that she “is not

advancing    an   argument     that    the   confidentiality    provision   is

unenforceable.” Stafford Br. 32 n.14. But that puts form over substance.


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The undisputed practical consequence of her position is that arbitral

confidentiality provisions are meaningless if any party may thereafter

move to confirm (or vacate) the confidential award, file the award on the

court docket, and thereby force its automatic public disclosure under the

public access doctrine. That would make arbitral confidentiality a dead

letter. And that is a broadside attack on “the character of arbitration

itself.” Guyden, 544 F.3d at 385. Avoiding that stunning consequence

easily overcomes any weak presumption of public access to the Final

Award that may exist in this case.

                             CONCLUSION

     IBM respectfully requests that the Court vacate the decision below

and order the case dismissed for lack of jurisdiction or, in the alternative,

reverse the district court’s judgment insofar as it requires unsealing the

contents of the Final Award.




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Dated: January 30, 2023

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Dated: January 30, 2023

                                         /s/ Matthew W. Lampe
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